Name of SectionUnit_CORRECTIONS/RPDC 3
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RAPIDES PARISH SHERIFF'S DEPARTMENT ATTENDANCE RECORD

Approved:

Period Beginning: Ti/T22018

Period Ending: _ 41/25/2018

 

 

_+On Duty

C - Office Closed
D - Regular Day Off
A - Annual Leave

B - Sick Leave

P - Persone! Leave (Explanation Attached)
M - Military Leave (Copy of Orders Attached)
K - Compensatory Leave

O - On Leave Without Pay
W - Absent Without Pay
R - Suspended or Laid Off

3S - Seperated Employee

N - New Employee (Before Starting)

 

 

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“ Immediate Supervisor. Sgt L. Floyd

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Division Major.

 

 

EXHIBIT

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Approved:

 

 

Period Beginning: ~__ 11/26/2018
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_- On Duty B - Sick Leave O- On Leave Without Pay N~New Employee (Before Starting)

C - Office Closed P - Persone! Leave (Explanation Attached) W - Absent Without Pay
D - Regular Day Of” M- Military Leave (Copy of Orders Attached) R- Suspended ar Laid Off

A- Annual Leave K- $- T+ Transferred
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‘Attendanca Certified Correct: :
immediate Supervisor Sgt. L. Floyd fab we esol Warden:
Date: 2/9/2018 Date:

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